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                IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF VIRGINIA
                         ABINGDON DIVISION

UNITED STATES OF AMERICA                        )
                                                )
                                                )
v.                                              )    Case No. 1:12cr00044-004
                                                )         REPORT AND
WILLIAM F. ADAMS, et al.,                       )     RECOMMENDATION
    Defendants                                  )


       This matter is before the court on the defendant Michael W. Dunlap’s
Motion To Dismiss Counts 51-74 Of Superseding Indictment, (Docket Item No.
91), ("Motion"). The Motion was referred to the undersigned pursuant to 28 U.S.C.
§ 636(b)(1)(B). A hearing was held before the undersigned on November 19,
2012. For the reasons set forth below, I recommend that the court deny the
Motion.


                                     I. Facts

       Dunlap and four others are charged in a Superseding Indictment, (Docket
Item No. 51), with conspiring to structure currency transactions to avoid bank
reporting requirements, to transport in interstate commerce money of the value of
$5,000.00 or more knowing it to have been taken by fraud and to commit wire
fraud. While an understanding of the full scope of the conspiracy as alleged is not
crucial to the court’s decision on the Motion, it is important to note Dunlap’s
alleged role. The Superseding Indictment alleges that Dunlap was responsible for
making purchasing decisions for certain mine operators and that he entered into an
agreement with co-defendant J.D. “Dot” McReynolds to purchase mine supplies



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and equipment from E&J Mine Supply at inflated prices in exchange for
McReynolds’s payment to him of “kickbacks.”

      Dunlap also is charged in Counts 51-74 of the Superseding Indictment with
24 counts of transportation in interstate commerce of securities and money of the
value of $5,000.00 or more, knowing them to have been taken by fraud. These 24
counts allege that on 24 separate specific occasions from October 25, 2007, to June
25, 2009, Dunlap “had the mine operator make its purchases from E&J Mine
Supply because Dunlap was fraudulently receiving ‘kickbacks’ in the form of cash
payments from J. D. ‘Dot’ McReynolds.” The Superseding Indictment further
alleges: “The amounts paid to E&J Mine Supply by the mine operator were
fraudulently obtained because they were procured through fraudulent ‘kickbacks.’”
The amounts of these payments listed in these counts of the Superseding
Indictment vary from a low of $5,400.00 to a high of $19,295.00. None of the
payments listed are below $5,000.00.




                                       II. Analysis

      Title 18 U.S.C. § 2314 states:
             Whoever transports, transmits, or transfers in interstate or
      foreign commerce any goods, wares, merchandise, securities or
      money, of the value of $5,000 or more, knowing the same to have
      been stolen, converted or taken by fraud; …
             Shall be fined under this title or imprisoned not more than ten
      years, or both.

18 U.S.C.A. § 2314 (West 2000). The parties agree that each count of violating §
2314 must allege a separate transaction involving more than $5,000.00. See United


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States v. Grenagle, 588 F.2d 87, 88 (4th Cir. 1978) (“Section 2314 has a
jurisdictional amount requirement. The value of the transported stolen goods must
be more that $5,000.”)

      Dunlap argues that Counts 51-74 of the Superseding Indictment should be
dismissed because, while the amount of each payment alleged is greater than
$5,000.00, the amount “taken by fraud” is much less and fails to meet the
jurisdictional amount requirement. In particular, Dunlap argues that these counts
should be dismissed, assuming the truth of the Government’s allegations, because
the “kickback” he received for each of the listed payments was less than $5,000.00.
The Government argues that the jurisdictional amount is properly alleged in each
count, in that, while Dunlap may not have received the entire amount of each
payment as the proceeds of the scheme, the entire payment was procured by fraud.

      Neither party has provided the court with any case law directly on point. I
start the court’s analysis with the language of the Stolen Property Act itself. See
18 U.S.C.A. § 2311 et seq. (West 2000 & Supp. 2012). Section 2311 defines
“value” for purposes of the Stolen Property Act as:

            … the face, par, or market value, whichever is the greatest, and
      the aggregate value of all goods, wares, and merchandise, securities,
      and money referred to in a single indictment shall constitute the value
      thereof.

18 U.S.C.A. §2311 (West Supp. 2012).           The things alleged to have been
transported in interstate commerce in these counts are payments. Thus, the value of
the payments, whether made in cash or through check or other instrument, see 18
U.S.C.A. § 2311 (definition of “securities”), would be their face value.
Furthermore, the Superseding Indictment alleges that these payments were



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“fraudulently   obtained    because    they     were   procured   through    fraudulent
‘kickbacks.’” As Judge K. K. Hall of the Fourth Circuit pointed out in United
States v. Grainger, 701 F.2d 308, 311 (4th Cir. 1983), “fraud is a broad term, which
includes false representations, dishonesty, and deceit.” Also, “fraud comprises all
acts, conduct, omissions and concealment involving breach of a legal or equitable
duty and resulting in damage to another.” Isaacs v. United States, 301 F.2d 706,
713 (8th Cir. 1962). To prove that money was taken by fraud under the Act requires
no more than showing that “money was ‘taken from its owner through
misrepresentation or deceit.” United States v. Cardall, 885 F.2d 656, 673 (10th Cir.
1989). See also United States v. Wright, 791 F.2d 133, 135 (10th Cir. 1986) (§2314
applies to knowing interstate transportation of the fruits of a fraudulent act).

      The Superseding Indictment in this case alleges that the entirety of each of
the payments listed as the bases for Counts 51-74 were obtained by fraud. That
being the case, I find that the Superseding Indictment on its face sufficiently
alleges the jurisdictional amount requirement. Dunlap, however, further argues that
the Government should be limited to pleading and proving only the amount of loss
suffered by the mine operator victim in each of these transactions as the amount
“taken by fraud.” I can find no case law that so narrowly construes this statute.
Therefore, I recommend that the court deny the Motion.

                        PROPOSED FINDINGS OF FACT


      As supplemented by the above summary and analysis, the undersigned now
submits the following formal findings, conclusions and recommendations:




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     1.    Counts 51-74 of the Superseding Indictment adequately plead the
           $5,000.00 jurisdictional amount requirement for violations of 18
           U.S.C. §2314;

     2.    The court should deny the Motion insofar as it seeks to dismiss
           Counts 51-74 of the Superseding Indictment; and

     3.    The court should deny the Motion insofar as it seeks to suppress
           evidence of the entire amount of any payments obtained by fraud as
           alleged in Counts 51-74.



                     RECOMMENDED DISPOSITION


     For the reasoning set out above, the undersigned recommends that this court
deny the Motion.


                                Notice to Parties


     Notice is hereby given to the parties of the provisions of 28 U.S.C.A. §
636(b)(1)(C):

       Within fourteen days after being served with a copy [of this
       Report and Recommendation], any party may serve and file
       written objections to such proposed findings and
       recommendations as provided by rules of court. A judge of the
       court shall make a de novo determination of those portions of the
       report or specified proposed findings or recommendations to
       which objection is made. A judge of the court may accept, reject,
       or modify, in whole or in part, the findings or recommendations
       made by the magistrate judge. The judge may also receive further


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       evidence or recommit the matter to the magistrate judge with
       instructions.


      Failure to file timely written objections to these proposed findings and
recommendations could waive appellate review.


      The Clerk is directed to send certified copies of this Report and
Recommendation to all counsel of record at this time. At the conclusion of the 14-
day period, the Clerk is directed to transmit the record in this matter to the
Honorable James P. Jones, United States District Judge.


                                     ENTER:        November 20, 2012.


                                     /s/    Pamela Meade Sargent
                                           UNITED STATES MAGISTRATE JUDGE




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